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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0326V
                                        (not to be published)


    DAVID PAVISH,
                                                                Chief Special Master Corcoran
                          Petitioner,
    v.                                                          Filed: December 22, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Jessica Olins, Maglio Christopher & Toale, PA, Seattle, WA, for Petitioner.

Linda Sara Renzi, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On March 1, 2019, David Pavish filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a brachial plexopathy as a result of an
influenza vaccination administered on September 20, 2016. (Petition at 1, 5). On
December 2, 2020, a decision was issued awarding compensation to Petitioner based on
the parties’ stipulation. (ECF No. 40).




1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated December
11, 2020, (ECF No. 44), requesting a total award of $27,322.01 (representing $25,958.60
in fees and $1,363.41 in costs). In accordance with General Order #9, Petitioner filed a
signed statement indicating that he incurred no out-of-pocket expenses. (ECF No. 44-3).
Respondent reacted to the motion on December 11, 2020 indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case and defers to the Court’s discretion to determine the amount to be awarded. (ECF
No. 45). On December 14, 2020, Petitioner filed a reply requesting the full amount of fees
and costs be awarded. (ECF No. 46).

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

        The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $27,322.01 (representing $25,958.60 in fees and $1,363.41 in costs) as
a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
Petitioner requests the check be forwarded to Maglio Christopher & Toale, PA, 1605
Main Street, Suite 710, Sarasota Florida 34236. In the absence of a timely-filed motion
for review (see Appendix B to the Rules of the Court), the Clerk shall enter judgment in
accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  2
